     Case 3:22-cv-00573-SDD-RLB               Document 144         03/29/23     Page 1 of 12




                              UNITED STATES DISTRICT COURT

                              MIDDLE DISTRICT OF LOUISIANA

ALEX A., by and through his guardian,                                CIVIL ACTION
Molly Smith; BRIAN B.; and
CHARLES C., by and through his guardian,                             NO. 22-573-SDD-RLB
Kenione Rogers, individually and on behalf
of all others similarly situated

VERSUS

GOVERNOR JOHN BEL EDWARDS,
in his official capacity as Governor of Louisiana;
WILLIAM SOMMERS, in his official
capacity as Deputy Secretary of the
Office of Juvenile Justice,
JAMES M. LEBLANC, in his official capacity
as Secretary of the Louisiana Department
of Public Safety & Corrections

                                              ORDER

          Before the Court is the non-parties Daniel D. and Edward E.’s Motion for Leave to

Intervene and to Join in Pending Motions. (R. Doc. 120). The motion is opposed. (R. Doc. 134).

I.        Background

          On August 19, 2022, the plaintiff Alex A., by and through his guardian Molly Smith,

commenced this putative class action on behalf of certain individuals under the secure care of the

Office of Juvenile Justice (“OJJ”) to obtain injunctive relief preventing their transfer from the

Bridge City Center for Youth (“BCCY”) to a location at the Louisiana State Penitentiary at

Angola known as the Bridge City Center for Youth at West Feliciana (“BCCY-WF”). (R. Docs.

1, 96).

          On September 23, 2022, the district judge denied the plaintiff Alex A.’s Motion for

Preliminary Injunction, and referred the matter to the undersigned for the issuance of a

Scheduling Order. (R. Doc. 79).
      Case 3:22-cv-00573-SDD-RLB                    Document 144            03/29/23        Page 2 of 12




        Defendants filed an Answer on October 4, 2022. (R. Doc. 83).

        On October 25, 2022, the First Amended Class Action Complaint was filed by Alex A.,

by and through his guardian Molly Smith, Brian B.,1 and Charles C., by and through his guardian

Kenione Rogers, (collectively, “Plaintiffs”) on behalf of themselves and others similarly situated

against Government John Bel Edwards, Deputy Secretary of the OJJ (“OJJ”) Williams Sommers,

and the Secretary of the Louisiana Department of Public Safety & Corrections James M.

LeBlanc (collectively, “Defendants”). (R. Doc. 96, “Amended Complaint”).2 In this Amended

Complaint, Plaintiffs seek declaratory and injunctive relief under 42 U.S.C. § 1983 for violation

of the Fourteenth Amendment (Count I), declaratory and injunctive relief for violation of Section

504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 (Count II), and declaratory and injunctive

relief for violation of Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §

12101 et seq. (Count III). (R. Doc. 96 at 35-39).

        The Court issued a Scheduling Order on October 27, 2022. (R. Doc. 97).

        On October 31, 2022, Plaintiffs filed a Motion for Class Certification. (R. Doc. 99).

Plaintiffs seek certification of one class with one subclass as follows:

             •   The “Principal Class” defined as follows: “All youth who are now or will be in
                 the custody of OJJ who have been, might be, or will be transferred to [BCCY-
                 WF] or another adult prison;” and

             •   The “Disability Class” defined as follows: “All current and future youth with
                 disabilities within the meaning of the ADA and Section 504 of the Rehabilitation
                 Act in the custody of OJJ who have been, might be, or will be transferred to
                 [BCCY-WF] or another adult prison.”




1
 Brian B. is no longer a minor, but was a minor when he was adjudicated delinquent. (R. Doc. 95 at 1 n.1).
2
 Plaintiffs timely this Amended Complaint directly into the record as a matter of course on October 25, 2022, which
was 21 days after service of Defendants’ Answer. See Fed. R. Civ. P. 15(a)(1)(B). Any future amendment of the
pleadings may only be filed with Defendants’ consent or leave of court. See Fed. R. Civ. P. 15(a)(2).

                                                        2
     Case 3:22-cv-00573-SDD-RLB               Document 144         03/29/23     Page 3 of 12




(R. Doc. 99 at 1-2). There is no dispute that the named Plaintiffs (Alex A., Brian B., and Charles

C.) have not been transferred to BCCY-WF. (See R. Doc. 101 at 9-10; R. Doc. 99-2; R. Doc. 99-

3; R. Doc. 9 at 11). Plaintiffs’ Motion for Class Certification remains pending before the district

judge. Defendants oppose class certification. (R. Doc. 101).

       On November 21, 2022, Defendants filed a Motion to Dismiss for Lack of Standing

(“Motion to Dismiss”). (R. Doc. 102). In support of this motion, Defendants argue that

“Plaintiffs lack standing to mount an as-applied challenge to the conditions of the BCCY-WF

facility because they are not currently and have never been subject to those conditions and are not

currently and have never been subject to any harm or injury from the conditions at the BCCY-WF

facility.” (R. Doc. 102-1 at 3). In opposition to the Motion to Dismiss, and in support of a finding

of standing, Plaintiffs argue that “Defendants misconstrue the claims contained in the Amended

Complaint by reframing the claims as a challenge only to the conditions of confinement for youth

currently held at the [BCCY-WF], even though the Amended Complaint continues to include

youth who are at risk of imminent harm and youth who are currently confined at BCCY-WF.” (R.

Doc. 114 at 3). Plaintiffs further stated that Plaintiffs’ counsel was scheduled to meet with a

juvenile incarcerated at the BCCY-WF on December 12, 2022, and that Plaintiffs would be

seeking “leave to amend” the pleadings to name the youth as an additional Plaintiff. (R. Doc. 114

at 3, 6 n.4). This Motion to Dismiss remains pending before the district judge. Discovery has

been stayed in this action until resolution of this motion. (R. Doc. 118).

       On January 5, 2023, Daniel D., by and through his guardian Angela Williams, and

Edward E., by and through his guardian Jernita Williams, two non-party individuals held at

BCCY-WF (collectively, “Movants”), filed the instant Motion for Leave to Intervene. (R. Doc.

120). Movants seek permissive intervention in this action pursuant to Rule 24(b) of the Federal



                                                 3
      Case 3:22-cv-00573-SDD-RLB                    Document 144             03/29/23       Page 4 of 12




Rules of Civil Procedure and to join in and supplement the existing Plaintiffs’ pending Motion

for Class Certification (R. Doc. 99) and Opposition to Defendants’ Motion to Dismiss (R. Doc.

114). Movants represent that they exhausted their administrative remedies under the Prison

Litigation Reform Act. (R. Doc. 120 at 6-7). In arguing that the standards for permissive

intervention have been met, Movants assert that the Court “should exercise its discretion to allow

the movants to intervene, so that the Court will have before it as Plaintiffs both youth at

imminent risk of transfer to [BCCY-WF] and youth who are now or have recently been confined

there.” (R. Doc. 120 at 9). Movants further argue that their motion is timely because Defendants

“blocked Plaintiffs’ counsel from accessing clients who are members of the proposed class and

who have requested legal visits,”3 noting that Movants “hope that [their] intervention . . . will

help resolve any concerns the Court might have regarding standing.” (R. Doc. 120 at 9-10).

        In opposition, Defendants first argue that the Motion to Intervene should be denied

because Movants have failed to exhaust their administrative remedies. (R. Doc. 134 at 4-10).

Next, Defendants argue that the Motion to Intervene should be denied as procedurally improper

and prejudicial because (a) the Motion to Intervene is an improper attempt to avoid dismissal

based on lack of standing or to create a new basis for class certification, (b) Movants are “legal

strangers” to this lawsuit and have no procedural avenue to assert arguments on previously-filed

motions, and (c) the Motion to Intervene is an improper vehicle for allowing Movants to be

certified as class representatives. (R. Doc. 134 at 10-14). Finally, Defendants represent that the

Motion to Intervene raises false, unsupported allegations regarding Plaintiffs’ counsel’s access to

clients or potential clients held at BCCY-WF. (R. Doc. 134 at 14-16).




3
  Plaintiffs separately filed a Motion for Access Counsel. (R. Doc. 113). The undersigned has addressed that motion
in a separate Report and Recommendation on this same date as ordered by the district judge.

                                                         4
      Case 3:22-cv-00573-SDD-RLB              Document 144         03/29/23      Page 5 of 12




II.    Law and Analysis

       A.      Legal Standards

       The Federal Rules of Civil Procedure allow for intervention of right and permissive

intervention. See Fed. R. Civ. P. 24. Movants seek permissive intervention under Rule 24(b),

which provides, in pertinent part, that “[o]n timely motion, the court may permit anyone to

intervene who . . . has a claim or defense that shares with the main action a common question of

law or fact.” Fed. R. Civ. P. 24(b)(1)(B). “In exercising its discretion, the court must consider

whether the intervention will unduly delay or prejudice the adjudication of the original parties’

rights.” Fed. R. Civ. P. 24(b)(3). Granting permissive intervention pursuant to Rule 24(b) is

“wholly discretionary with the district court even though there is a common question of law or

fact, or the requirements of Rule 24(b) are otherwise satisfied.” Bush v. Viterna, 740 F.2d 350,

359 (5th Cir. 1984) (per curiam).

       “Although the movant bears the burden of establishing its right to intervene, Rule 24 is to

be liberally construed.” Texas v. United States, 805 F.3d 653, 656 (5th Cir. 2015) (quoting

Brumfield v. Dodd, 749 F.3d 339, 341 (5th Cir. 2014)). “Federal courts should allow intervention

where no one would be hurt and the greater justice could be attained.” Texas, 805 F.3d at 656

(quoting Sierra Club v. Espy, 18 F.3d 1202, 1205 (5th Cir. 1994)). “The decision is a practical

undertaking, considering the particular facts and circumstances of the case.” Adam Joseph Res. v.

CNA Metals Ltd., 919 F.3d 856, 864 (5th Cir. 2019) (citing Brumfield, 749 F.3d at 342).

       “[I]t is essential not to conflate what is required for a permissive intervenor to enter an

action and what may be required for that intervenor to remain before the court. The two

situations are not inherently congruent, the permissive intervenor falling somewhere in the gray

area between spectator and participant.” Harris v. Amoco Prod. Co., 768 F.2d 669, 675 (5th Cir.



                                                 5
     Case 3:22-cv-00573-SDD-RLB               Document 144          03/29/23      Page 6 of 12




1985). “It is well-established . . . that a party must have independent jurisdictional grounds to

intervene permissively under Rule 24(b).” Id. (internal quotation and citations omitted). “But [a

permissive intervenor’s] participatory rights remain subject to the intervenor’s threshold

dependency on the original parties’ claims, for it is equally well-settled that ‘[a]n existing suit

within the court’s jurisdiction is a prerequisite of an intervention, which is an ancillary

proceeding in an already instituted suit.’” Id. (quoting Kendrick v. Kendrick, 16 F.2d 744, 745

(5th Cir. 1926)). “There is no right and no obligation to intervene in a defective suit. . . . Whether

the right to intervene is permissive or unqualified cannot affect the application of this rule.”

Truvillion v. King's Daughters Hosp., 614 F.2d 520, 526 (5th Cir. 1980) (citations omitted).

       B.      Analysis

       Having considered the record, the applicable law, and the arguments of Movants and

Defendants, the Court finds it appropriate to exercise its discretion in denying permissive

intervention at this time.

       As a preliminary issue, the Court observes that Defendants do not oppose the instant

Motion to Intervene on the grounds that Movants have not raised claims that share with the main

action “a common question of law or fact” or untimeliness. See Fed. R. Civ. P. 24(b)(1)(B).

There can be no dispute that the proposed Complaint in Intervention raises claims that share with

the main action “a common question of law or fact” given that while the proposed Complaint in

Intervention adds various new factual allegations regarding Movants’ personal experiences with

the conditions at BCCY-WF, the proposed pleading seeks to incorporate the identical class

action allegations, claims for relief, and prayer for relief as alleged in the Amended Complaint.

(See R. Doc. 120-3 at 6).




                                                  6
      Case 3:22-cv-00573-SDD-RLB                    Document 144           03/29/23        Page 7 of 12




        The timeliness of the Motion to Intervene is a different matter. “Determining the

timeliness of a motion to intervene entails consideration of four factors: (1) the length of time

during which the would-be intervenor knew or reasonably should have known of its interest in

the case before it petitioned for leave to intervene; (2) the extent of the prejudice that the existing

parties to the litigation may suffer as a result of the would-be intervenor’s failure to apply for

intervention as soon as it knew or reasonably should have known of its interest in the case; (3)

the extent of the prejudice that the would-be intervenor may suffer if intervention is denied; and

(4) the existence of unusual circumstances militating either for or against a determination that the

application is timely.” Sierra Club, 18 F.3d at 1205 (citing Stallworth v. Monsanto Co., 558 F.2d

257, 264-66 (5th Cir. 1977)). The Fifth Circuit has cautioned that an analysis of timeliness “is

contextual” and “absolute measures of timeliness should be ignored.” Id. (citing Stallworth, 558

F.2d at 266); Assoc. of Prof. Flight Attendants v. Gibbs, 804 F.2d 318, 320, 321 (5th Cir. 1986)

(“Timeliness is not determined solely by the length of time that passes before a motion to

intervene is made” and, instead, “must be determined from all the circumstances in the case.”).

        Here, the Court finds it pertinent to note that while the Scheduling Order did not set a

deadline for any potential parties to intervene in this action, it did set a deadline “to join other

parties or to amend the pleadings” on or before December 2, 2022. (R. Doc. 97 at 1). It appears

that this instant Motion to Intervene filed on January 26, 2023—nearly two months past the

deadline to join other parties or amend the pleadings—is an attempt to circumvent the

Scheduling Order without addressing the requirements of Rule 15(a)(2) and Rule 16(b)(4) of the

Federal Rules of Civil Procedure.4


4
 After a scheduling order is in place, amendments to pleadings beyond the date set by the scheduling order are
governed by Rule 16 of the Federal Rules of Civil Procedure, which requires a showing of “good cause” for
modifying the deadline set by the scheduling order. See S & W Enter., LLC v. South Trust Bank of Alabama, 315
F.3d 533, 536 (5th Cir. 2003). In order to show “good cause” the party seeking modification must show the

                                                        7
      Case 3:22-cv-00573-SDD-RLB                      Document 144             03/29/23         Page 8 of 12




         While the instant Motion to Intervene was purportedly filed on behalf of the non-party

Movants, those non-parties are represented by the same counsel as the named Plaintiffs. Indeed,

the instant Motion to Intervene is signed on behalf of the “Plaintiffs” rather than on behalf of the

Movants. (See R. Doc. 120 at 11). As stated above, Movants seek to allege the same class action

allegations, claims for relief, and prayer for relief as the named Plaintiffs by way of intervention.

Movants state that it is “Plaintiff’s . . . hope that the intervention of [Movants], who have both

been confined at [BCCY-WF], will help resolve any concerns the Court may have regarding

standing.” (R. Doc. 120 at 10) (emphasis added). While the Court could construe the instant Rule

24(b)(1) motion as a Rule 15(a)(2) motion,5 the motion would still be subject to denial as

untimely given the failure to establish good cause under Rule 16(b)(4).6


deadlines could not “reasonably be met despite the diligence of the party needing the extension.” Id. at 545 (citation
omitted). The Court considers four factors for determining whether “good cause” exists to grant an untimely motion
to amend a pleading: “(1) the explanation for the failure to timely move for leave to amend; (2) the importance of
the amendment; (3) potential prejudice in allowing the amendment; and (4) the availability of a continuance to cure
such prejudice.” See id. (citing Reliance Ins. Co. v. Louisiana Land & Exploration Co., 110 F.3d 253, 257 (5th Cir.
1997)). “Only upon the movant's demonstration of good cause to modify the scheduling order will the more liberal
standard of Rule 15(a) apply to the district court's decision to grant or deny leave.” S & W Enter., 315 F.3d at 536.
Under Rule 15(a)(2), after the period for amending as a matter of course elapses, “a party may amend its pleading
only with the opposing party’s written consent or the court's leave” and a “court should freely give leave when
justice so requires.” Fed. R. Civ. P. 15(a)(2). The rule “evinces a bias in favor of granting leave to amend.” Martin's
Herend Imports, Inc. v. Diamond & Gem Trading U.S.A. Co., 195 F.3d 765, 770 (5th Cir. 1999) (quoting Dussouy v.
Gulf Coast Inv. Corp., 660 F.2d 594, 597 (5th Cir. 1981)). Although leave to amend should not be automatically
granted, “[a] district court must possess a substantial reason to deny a request for leave to amend[.]” Jones v.
Robinson Prop. Grp., L.P., 427 F.3d 987, 994 (5th Cir. 2005) (quotations omitted). The Court may consider several
factors when determining whether to grant leave to amend, including “undue delay, bad faith or dilatory motive on
the part of the movant, repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to
the opposing party by virtue of allowance of the amendment, [and] futility of the amendment....” See Rhodes v.
Amarillo Hosp. Dist., 654 F.2d 1148, 1153 (5th Cir. 1981) (quoting Foman v. Davis, 371 U.S. 178, 182 (1962)).
“It is within the district court's discretion to deny a motion to amend if it is futile.” Stripling v. Jordan Prod. Co.,
LLC, 234 F.3d 863, 872-73 (5th Cir. 2000) (citations omitted). The “futility” of amendments to a complaint is
measured by whether “the amended complaint would fail to state a claim upon which relief could be granted” under
“the same standard of legal sufficiency as applies under Rule 12(b)(6).” Id. at 873 (citations omitted).
5
  See Johnson v. Allstate Ins. Co., No. 07-0781, 2010 WL 1325272, at *2 (S.D. Ill. Mar. 29, 2010) (“In this case it
seems particularly appropriate to apply Rule 15 rather than Rule 24 because the intervening plaintiffs are not
adversarial to any of the existing plaintiffs, are represented by the same counsel and freely admit that the existing
plaintiffs are adequate to protect the interests of the members of the proposed class. Accordingly, Rule 15 rather
than Rule 24 is the correct procedural vehicle by which to add these new plaintiffs in this case, and the Court will
construe the motions to intervene as motions to amend the complaint.”).
6
  Movants allege that they have been confined at BCCY-WF since September or October of 2022. (R. Doc. 120-3 at
3-4). The instant motion does not identify when Plaintiffs’ counsel formed an attorney-client relationship with the
Movants. Plaintiffs’ opposition to Defendants’ Motion to Dismiss suggests that Plaintiffs’ counsel established an

                                                           8
      Case 3:22-cv-00573-SDD-RLB                     Document 144            03/29/23        Page 9 of 12




        Regardless of whether the instant Motion to Intervene was timely filed, the Court will

deny the motion, without prejudice, given Defendants’ pending Motion to Dismiss, which raises

the “threshold” issue of Article III standing. See Cibolo Waste, Inc. v. City of San Antonio, 718

F.3d 469, 473 (5th Cir. 2013). “Article III standing requires a plaintiff to show: ‘(1) an injury in

fact (2) that is fairly traceable to the actions of the defendant and (3) that likely will be redressed

by a favorable decision.’” Id. (quoting Procter & Gamble Co. v. Amway Corp., 242 F.3d 539,

560 (5th Cir. 2001) (citations omitted)). If the plaintiffs in an action lack Article III standing, the

federal “courts have no business deciding [the case], or expounding the law in the course of

doing so.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 340-41 (2006).

        This action was commenced to obtain injunctive relief precluding the transfer of juveniles

under the secure care of the OJJ to BCCY-WF. (R. Doc. 1). In weighing the appropriate factors

(the likelihood of success, the threat of irreparable injury to the plaintiff, the threatened harm to

the defendants, and the public interest), the district judge denied the foregoing preliminary

injunctive relief. (R. Doc. 79). Plaintiffs then filed an Amended Complaint raising similar

allegations. (R. Doc. 96). Defendants have now moved to dismiss the entire Amended Complaint

on the basis that “Plaintiffs lack standing to mount an as-applied challenge to the conditions of

the BCCY-WF facility because they are not currently and have never been subject to those

conditions and are not currently and have never been subject to any harm or injury from the

conditions at the BCCY-WF facility.” (R. Doc. 102-1 at 3).7 There can be no dispute that

Movants (who have alleged no new claims) are seeking to intervene to “help resolve any



attorney-client relationship with, and had access to, at least one of the Movants by December 12, 2022. (See R. Doc.
3, 6 n.4). The Court recognizes that Plaintiffs’ counsel may have had difficulty communicating with Movants
regarding potential pleadings for the reasons addressed in Movants’ Motion for Access to Counsel. (See R. Doc.
113). Regardless, the instant motion does not address the appropriate factors to establish good cause under Rule
16(b)(4) to file an untimely motion to amend after the deadline set by the Court’s Scheduling Order.
7
  This Order takes no position with respect to the validity of Defendants’ arguments.

                                                         9
    Case 3:22-cv-00573-SDD-RLB                Document 144         03/29/23      Page 10 of 12




concerns the Court might have regarding standing” given that they are actually confined at

BCCY-WF. (R. Doc. 120 at 10; see R. Doc. 114 at 3, 6 n.4).

       In other words, Movants are seeking to cure any jurisdictional defects in the Amended

Complaint based on lack of Article III standing by intervening as plaintiffs in this action despite

the expiration of the deadline to add new parties in this action. Plaintiffs have argued, however,

that Defendants have misconstrued their claims and that they have Article III standing to raise all

claims in the Amended Complaint even in the absence of plaintiffs who are incarcerated at

BCCY-WF. Under these circumstances, the Court finds it appropriate to deny the instant Motion

to Intervene without prejudice to refile after the resolution of the issue of Article III standing

based on the pleadings, and parties, currently in this action. As stated above, an “existing suit

within the court’s jurisdiction is a prerequisite of an intervention, which is an ancillary

proceeding in an already instituted suit.” Harris, 768 F.2d at 675. “‘By its very nature

intervention presupposes pendency of an action in a court of competent jurisdiction’ and thus

‘whenever an action is terminated, for whatever reason, there no longer remains an action in

which there can be intervention.’” In re Greyhound Sec. Litig., No. 95-2103, 1997 WL 531317,

at *3 (N.D. Tex. Aug. 15, 1997) (quoting Black v. Cent. Motor Lines, Inc., 500 F.2d 407, 408

(4th Cir. 1974)).

       The Court acknowledges that where intervention occurs before dismissal, “a federal court

has the discretion to treat an intervention as a separate action, and may adjudicate it despite

dismissal of the main demand if failure to do so might result in unnecessary delay or other

prejudice” and if “a separate and independent jurisdictional basis exists.” Arkoma Assocs. v.

Carden, 904 F.2d 5, 7 (5th Cir. 1990) (per curiam) (citation omitted). Where a party seeks

intervention after dismissal of an action, however, the Court must deny a motion to intervene.



                                                  10
     Case 3:22-cv-00573-SDD-RLB                       Document 144             03/29/23         Page 11 of 12




Allen Exch. Partners, Ltd. v. CLA Allen, LLC, No. 21-870, 2022 WL 2910014, at *1 (E.D. Tex.

July 22, 2022) (denying motion to intervene where the underlying claims had been dismissed,

noting that even if the intervention “could be treated as a separate action” the proposed

intervenor “will not suffer delay or prejudice from not being permitted to intervene” as it was

named a defendant in a second-filed lawsuit and had brought a third-party complaint against the

original plaintiff). Here, the non-parties are seeking to intervene while a motion to dismiss on the

threshold issue of Article III standing is pending, but prior to resolution of that threshold issue.

         To be clear, the stated purpose of the proposed intervention is to render moot a challenge

to Article III standing brought by the Defendants. (R. Doc. 120 at 10).8 At this given point of the

litigation, the district judge has not decided whether and to what extent the underlying action will

be dismissed based on lack of Article III standing. The Court finds it inappropriate, under these

circumstances, to allow intervention by non-parties for the sole purpose of resolving a potential

jurisdictional defect. See Aetna Casualty & Surety Co. v. Hillman, 796 F.2d 770, 776 (5th

Cir.1986) (“Rule 15 . . . do[es] not allow a party to amend to create jurisdiction where none

actually existed.”); Summit Off. Park, Inc. v. U.S. Steel Corp., 639 F.2d 1278, 1282 (5th Cir.

1981) (“[W]e hold only that where a plaintiff never had standing to assert a claim against the

defendants, it does not have standing to amend the complaint and control the litigation by

substituting new plaintiffs, a new class, and a new cause of action.”); see also Wright & Miller,

Federal Practice and Procedure: Civil § 1917 (3d ed.) (“Intervention cannot cure any

jurisdictional defect that would have barred the federal court from hearing the original action.




8
 Movants provide no explanation for how their intervention as plaintiff-intervenors in a separate Complaint for
Intervention would resolve the Article III standing issues with respect to Plaintiffs relative to their own pleading, the
Amended Complaint.

                                                           11
      Case 3:22-cv-00573-SDD-RLB               Document 144          03/29/23      Page 12 of 12




Intervention presupposes the pendency of an action in a court of competent jurisdiction and

cannot create jurisdiction if none existed before.”).

        Movants will not be prejudiced by the instant denial of their motion to intervene without

prejudice to refile. Indeed, if this entire action is dismissed for lack of Article III standing,

Movants will have the opportunity file a separate lawsuit. And if the entire action is not

dismissed, Movants may renew again seek to intervene in this action (or, with coordination with

Plaintiffs already in this action, seek to be named as additional plaintiffs and class

representatives by amendment).

        Accordingly, the Court will deny the Motion to Intervene without prejudice to refile once

the district judge has ruled on the Motion to Dismiss, which challenges the threshold issue of

Article III standing. Having denied the Motion to Intervene, without prejudice, on the foregoing

grounds, the Court does not reach the remaining issues raised by the parties.

III     Conclusion

        For the foregoing reasons,

        IT IS ORDERED that the non-parties Daniel D. and Edward E.’s Motion for Leave to

Intervene and to Join in Pending Motions (R. Doc. 120) is DENIED without prejudice to refile

after adjudication of Defendants’ Motion to Dismiss (R. Doc. 102).

        Signed in Baton Rouge, Louisiana, on March 28, 2023.



                                                S
                                                RICHARD L. BOURGEOIS, JR.
                                                UNITED STATES MAGISTRATE JUDGE




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